 

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on 09/10/12 Page 1 of 19

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IN THE UNITED sTATEs DISTRICT CoURT
FoR THE NoRTHERN DISTRICT oF oKLAHoMA SEP 1 0 Zmz

Phil Lombardi, C|erk

l. SARA BROWN, Personal Representative U-S- D|STR|CT COURT

' of the Estate of Da:mell Ramon Brown,
Deceased, and SARA BROWN,
individually,

S§.N20,Cll-5»08.!HP "pjc

Tulsa County Case No. CJ-2012-4259

Ca

V.

.,2. PRIMERICA LIFE INSURANCE

)
)
)
)
)
Plaintiffs, )
)
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)
)
COMPANY, a foreign corporation )

)

Defendant.

NOTICE OF REMOVAL

Defendant Primerica Life Insurance Company (“Primerica”) files this notice of removal of
this action from the District Court of Tulsa County, Oklahoma pursuant to 28 U.S.C. § 1446. As
grounds for removal, Primerica states:

l. On August 13, 2012, Plaintiff filed a Petition in the District Court in and for Tulsa
County, Oklahoma, captioned Sara Brown v. Primerica Life Insurance Company, Case No. CJ-
2012-4259 (the “State Court Action”).

2. A true and correct copy of the docket sheet in the State Court Action is attached
hereto as Exhibit l. True and correct copies of the Summons and Petition that (Were served on
Primerica through the office of the Oklahoma lnsurance Commissioner on or about August 21 , 2012
are attached hereto as Exhibits 2 and 3. A true and correct copy of the return of service filed in the

State Court Action is attached as Exhibit 4.

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l

3. This Court has original jurisdiction over this action under 28 U,S.C. § 1332 in that
there is complete diversity of citizenship between the parties and the amount in controversy exceeds
$75,000, exclusive of interest and costs. This action is therefore removable to this Court pursuant to
28 U.S.C. § 1441.

4. Complete diversity exists because Plaintiff is a citizen and resident of Tulsa County,
Oklahoma while Primerica is a Massachusetts corporation with its principal place of business in
Duluth, Georgia. Therefore, Plaintiff is a citizen of Oklahoma and Primerica is a citizen of
Massachusetts and Georgia for removal purposes

5. The amount in controversy as set forth in Plaintiff’ s Petition exceeds the sum of
$75,000, exclusive of interest and costs. Plaintiffs seek to recover insurance benefits in the amount
of $250,000, as well as punitive damages. See Petition (Exhibit 3) W 6 and 10-11.

6. This Notice of Removal is filed within thirty (3 0) days after receipt by Primerica of
the Petition and Summons and is therefore timely filed pursuant to 28 U.S.C. § l446(b).

7. Written notice of the filing of this Notice of Removal will be given promptly to
counsel for Plaintiff, and a copy of the Notice of Removal will be filed with the Clerk of the District
Court of Tulsa County, Oklahoma, as provided by 28 U.S.C. § l446(d).

WHEREFORE, Primerica removes this action to this Court and invokes this Court's
jurisdiction

Dated September 10, 2012.

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Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on O9/10/12 Page 3 of 19

RespeYu`lly subrni ed, %q/

s/Lisa T. Silvestri

Lisa T. Silvestri, OBA No. 19239
Erin K. Dailey, OBA No. 20189
GABLEGoTWALs

1100 ONEOK Plaza

100 West Fifth Street

Tulsa, Oklahoma 74103 -4217
Telephone: (918) 595-4800
Facsimile: (918) 595-4990

ATTORNEYS FOR DEFENDANT

CERTIFICATE OF SERVICE

I hereby certify that on September 10, 2012 a true and correct copy of the foregoing has been
served on all counsel of record, as listed below, by first class mail.

Tom Sullivent

Sidney A. Martin 11

Sullivent Law Firm

4325 E. 515t Street, Suite 100
Tulsa, OK 74135

{1016741~,}

s/Lisa T. Silvestri

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on O9/10/12 Page 4 of 19

EXHlBlT 1

Case 4:12-cV-00508-.]ED-P.]C Documeht 2 Filed in USDC ND/OK on O9/10/12 Pa e 5 of 19
QCIS Case Summary for CJ-2012-4259- BROWN, SARA v. PRIMERICA LIFE INSUR... age 1 of 3

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Court [)nr:kets Le_r al Research

The information on this page is NOT an official record. Do not rely on the correctness or completeness of this information. Verify a|| information with the
official record keeper. The information contained in this report is provided in compliance with the Oklahoma Open Records Act, §1 Q.S. 24A.1. Use of
this information is governed by this act, as well as other applicable state and federal laws.

lN THE DlSTRlCT COURT lN AND FOR TULSA COUNTY, OKLAHOMA
No. CJ-2012-4259
SARApB|:igt\i/f¥"\|a'nd (Civil relief more than $10,000:

ESTATE oF DARNELL RAMoN BROWN, DECEASED, BREACH °F AGREEMENT ' CONTRACT)
P|aintiff,

 

 

 

Filed! 08/13/2012

v.
PR|MER|CA |_|FE |NSURANCE COMPANYl
Defendant.

 

 

JudgLe: Barcus, Mark

 

Parties

 

BROWN, SARA , P|aintiff
ESTATE OF DARNELL RAMON BROWN , P|aintiff
PR|MER|CA L|FE |NSURANCE COMPANY, Defendant

 

Attorneys

Attorney Represented Parties

SULLIVENTl THOMAS JACKSON(Bar # 17147) ESTATE OF DARNELL RAMON BROWN,
SULLIVENT LAW F|RM BROWN, SARA

4325 East51stStreet

#100

TULSAl OK 74135

Events

 

Event Party Docket Reporter

|ssues

 

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.

issue #1. |ssue: BREACH OF AGREEMENT - CONTRACT
(CONTRACT)
Filed by: BROWN, SARA
Filed Date: 08/13/2012

M Dis osition |nformation:
Defendant: PR|MER|CA L|FE |NSURANCE Pending.
COMPANY
issue # 2. lssue: BREACH OF AGREEMENT - CONTRACT
(CONTRACT)

Filed by: ESTATE OF DARNELL RAMON BROWN
Filed Date! 08/13/2012

PMLL|ILO_! Disgosition |nformation:
Defendant:PR|MER|CAL|FE|NSURANCE Pending. ~ v ii ~'
COMPANY

Exhibit .“ 1”

http://www.oscn.net/applications/oscn/getcaseinformation.asp?query=true&srch=O&web=t. .. 9/10/2012

Case 4:12-cV-00508-.]ED-P.]C Documeht 2 Filed in USDC ND/OK on O9/10/12 Page 6 of 19
QCIS Case Summary for CJ-2012-4259- BROWN, SARA v. PRIMERICA LIFE INSUR... Page 2 of 3

lSSue # 3. |Ssue: BAD FA|TH |NSURER L|AB|L|TY (lNSURE)
Filed by: BROWN, SARA
Filed Date: 08/13/2012

 

 

 

 

 

 

 

 

 

 

 

 

Pam¢ Name: Disgosition |nformation:
Defendant: PR|MER|CA L|FE |NSURANCE Pending.
coMPANY
lssue # 4. lssue; BAD FAer leuRER L|AB|L|TY (leuRE)
Filed by: ESTATE oF DARNELL RAMoN BROWN
Filed Date: 08/13/2012
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Defendant: PR|MER|CA L|FE |NSURANCE Pending.
coMPANY
Docket
Date Code Count Party Serial # Entry Date
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BREACH oF AGREEMENT - coNTRAcT
08-13-2012 DMFE - 82558905 §};96:10;?8‘§17§,,`,, Reanzed $ 2.00
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Case 4:12-cV-00508-.]ED-P.]C Documeht 2 Filed in USDC ND/OK on O9/10/12 Page 7 of 19
QCIS Case Summary for CJ-2012-4259- BROWN, SARA v. PRIMERICA LIFE INSUR... Page 3 of 3

COURT CLERK ADM|N|STRAT|VE FEE ON COLLECT|ONS($ 0.50)

 

08-13-2012 LTF _ 82558913 §§%:11%§,%17§~| Rea|ized $10.00
LENGTHY TRIAL FUND($ 10,00)

 

08-13-2012 SMF - 32558914 §§%:11%§)%172,3,“ Rea|ized $ 5.00
SUMMONS FEE (CLERKS FEE)($ 5.00)

 

08-13-2012 SN||P - 82558915 §;%:11%;21%17§~| Rea|ized $ 0.00

SUMMONS lSSUED - PR|VATE PROCESS SERVER

 

08-13-2012 TE)<T - 82558903 §};96:10;§‘;17§~| - s 0.00

OC|S HAS AUTOMAT|CALLY ASS|GNED JUDGE BARCUS, MARK TO TH|S CASE.

 

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cJ-20124259: $6.00 oN A023 LAW LlBRARY FEE.
cJ-20124259: $0.70 oN A031 couRT cLERK REvoLleo FuND.
cJ-20124259: $5.00 oN Acsa oKLAHoMA couRT APPolN'rED sPEclAL ADvocATEs.
cJ-2012~4259: $2.00 oN Acee oKLAHoMA coLlNclL oN JuDlClAL coMPLAiNTs REvoLleG
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PARTY HAS BEEN SUCCESSFULLY SERVED. SUMMONS SERVED FOR PR|MER|CA L|FE |NS
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Case 4:12-cV-00508-.]ED-P.]C Documeht 2 Filed in USDC ND/OK on O9/10/12 Page 8 of 19

EXHlBlT 2

Case 4:12-cV-00508-.]ED-P.]C Documeht 2 Filed in USDC ND/OK on O9/10/12 Page 9 of 19

 

 

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l/A’Amc
IN THE DlSTRlCT COURT IN AND FoR TULSA colier 40 EDFPAHWE,,,
sTATE or okLAHoMA 531 z

SARA BROWN, Personal Representative
of the Estate of Damell Ram on Brown,

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Dcceased, and SARA BROWN individua ) ~
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)

P|aintiff, Case No.
AUG 2 8 2012

v. l _
Judge '“‘ '"‘
PRIMERICA LIFE INSURANCE COMPANY»

a foreign corporation,

Defendant.

SERVICE BY CERTIFIED MAIL

Primerica Life Insurance Company

c/o Oklahoma lnsurance Commissioner
Five Corporate Plaza

3625 NW 56th, Suite 100

Oklahoma City, OK 73112-4511

T() THE ABOVE NAMED DEFENDANT:

You have been sued by the above~named Plaintit`f, and you are directed to file a
written answer to the attached petition in the court at the above address within twenty
(20) days after service of this summons upon you, exclusive of the day of service. Within
the same time, a copy of your answer must be delivered or mailed to the attorney for the
Plaintit`f`. Unless you answer the petition within the time stated, judgment will be

rendered against you with costs gmc action.

lssued this § day of ,

COURT CLERK NAME, Court Clerk

B,(XkOKQU LC&MM pmme ourt clerk

20l2.

(Seal)

This summons and order was served on (date of service).

 

(Signature of Person Serving Summons)

EXhibit/“z” `

 

 

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on O9/10/12 Page 10 of 19

 

 

 

 

Tom Sullivcnt.OBA# l7|47 m
SidMartin.OBA#10892 *' ‘~ g ry `. ~~ ~ ~ ‘, `-F." , __
SULL|VENT LAW F|RM "~' ";*' ’ " "~ ' .' ` ' '1¢'1-5 "'
4325 E. 5|" Street. Suite |(10

Tulsa, Ol< 74135

Telephone; (918) 295-8300

Arrorneyfor P{m'nrij"

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER
CONNECTED WI'I`H THIS SUlT OR YOUR ANSWER. S`UCH ATTORNEY
SHOULD BE CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE
FILED WITHIN THE TIME LIMIT STATED IN THE SUMMONS.

 

 

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on O9/10/12 Page 11 of 19

EXHlBlT 3

 

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on O9/10/12 Page 12 of 19

DlSTRlCT cOURT
IN THE DlSTRlCT COURT IN AND FoR TuLsA <FUI§T\§_
sTATE oF 0KLAH0MA
.L\UG 1 3 2012

SARA BROWN, Personal Representative
of the Estate. of Darnell Ramon Brown,

l

) SALLY HOWE SM|TH, COHF(T CLERK
Deceased, and SARA BROWN individually, )

)

)

STATE OF OKLA. TULSA CO\NTY

Pljivnciff,cJ m §Sé:§°_i §§ w &5§2 59

v.
Judge

)
PRIMERICA L|FE INSURANCE COMPANY, )
a foreign corporation, )
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Defendant. 2':°,` 22 2.-.~";'_.* ~ , .
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ACUS
PETITION

COMES NOW the Plaintiff. Sara Brown, Personal Representative of the Estate
of Dame|l Ramon Brown. Deeeased, and Sara Brown, individually, and for her cause of
action against the Defendant, Primerica Life insurance Company. alleges and states as
follows:

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l. The Plaintiff, Sara Brown, was appointed Personal Representative of the
Estate of her deceased husband, Darnell Ramon Brown, a resident of Tulsa County,
Oklahoma, in Case No. PB»2011-754, Tulsa County District Court.
2. The Plaintiff, Sara Brown, is the beneficiary of a life insurance policy, No.
04890431], issued to Darnell Ramon Brown by the Defendant, Primerica Life Insurance
Company, with the effective date of December 10, 20l0.

3. The Defendant, Primerica Life Insurance Con'ipany, is a foreign

corporation headquartered in Duluth, Georgia, and licensed to do business in Oklahoma.

Exhibit “3”

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on 09/10/12 Page 13 of 19

 

 

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4. A|l events material hereto transpired in Tulsa County, Oklahoma,
Jurisdiction and venue are proper.
5. Darnell Ramon Brown departed this life on October 14, 2011. The

aforementioned policy was in full force and effect at the time of his death.

6. Demand has been made on the Defendant for the $250,000 in life
insurance benefits due under the policy. Nevertheless, the Defendant denied the claim,
rescinded the policy, and refunded the premiums paid.

7. Tlte Defendant alleges that the application for insurance dated November
17, 2010 contained a false statement concerning a prior felony conviction for possession
of a firearm and alleges that if said conviction been revealed, the policy would not have
been issued.

8. The question at issue, 2d, states as follows:

2. ln the past 10 years, has any person named in this application:
Received professional counseling or medical treatment due
to the use of alcohol or drugs, used illegal or illegally
obtained drugs; been convicted of drug or alcohol related
charges; been convicted of a felony; or been incarcerated
for any felony?

9. The language of the application is ambiguous and could be understood by
the average person to be inquiring only concerning a felony which is drug or alcohol
related. The decedent did not intend to deceive the Defendant, nor in denying the claim
did the Defendant so allege. Moreover, the questions in the application were asked by an

agent of the Defendant who entered the answers on his electronic device, and the

 

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decedent entered his signature on the device without being able to review the questions

 

and answers
FIRST CLAIM FOR RELIEF - BREACH OF CONTRACT

Paragraphs l through 9 are incorporated as if fully set forth.

10. The Defendant breached the contract of insurance by failing to pay the
benefits due under the policy, and by unlawfully rescinding the policy,

WHEREFORE, Plaintiff prays for damages in the amount of $250,000, a
reasonable attomey’s fee, costs. and such other and further relief as the Court may deem
just and proper.

SECOND CLAIM FOR RELIEF - BAD FAl'I`H

Paragtaphs 1 through 10 are incorporated as if fully set forth.

ll. The Defendant breached the covenant of good faith and fair dealing by
refusing to pay benefits due under the policy without just cause. The Defendant
unreasonabl_v, and in had faith. withheld payment of Plaintiff`s claim.

WHEREFORE, Plaintiffs prays for actual and punitive damages in an amount in
excess of $75,000, her costs, and such other and further relief as the Court may deem just

and proper.

ATTORNEY’S LIEN CLAIMED
JURY TR]AL DEMANDED

 

 

/Tom J. suitiverft, GBA #17147
Sidney A. Martin II, OBA #10892
4325 E. 515' Street. Suite 100
Tulsa, Oklahoma 74135
Telephone: 918-295-8300
Facsimile: 918-295-8302
Attorneys for Plaintiff

 

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on O9/10/12 Page 15 of 19

 

 

 

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EXHlBlT 4

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on O9/10/12 Page 17 of 19

 

ORIGINAL SUMMONS

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
STATE OF OKLAHOMA .

SARA BROWN, Personal Representative )

of the Estate of Darnell Ramon Brown, )

Deceased, and SARA BROWN individually,:,_, z,.\).a,
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P|aintiff,
ve ii

PRIMERICA LIFE INSURANCE COMPANY,
a foreign corporation,

)
)
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) Judge
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Defendant.

SERVICE BY CERTIFIED MAIL

 

DISTRICT COURT
Primerica Life Insurance Company F l L E D,
c/o Oklahoma Insurance Commissioner
Five Corporate Plaza AUG 24 2012
3625 NW 56th, Suite 100

Oklahoma City, OK 73112-4511

 

TO THE ABOVE NAMED DEFENDANT:

You have been sued by the above-named Pla.intiff,_ and you are directed to file a
written answer to the attached petition in the court at the above address within twenty
(20) days after service of this summons upon you, exclusive of the day of service. Within
the same time, a copy of your answer must be delivered or mailed to the attorney for the
Plaintiff. Unless you answer the petition Within the time stated, judgment will be
rendered against you with costs of the action.

lssued this \ )day of g , 2012.

COURT CLERK NAME, Court Clerk

B ` , Deputy Court Clerk

\

(Seal)

 

 

Exhibit “4”

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on O9/10/12 Page 18 of 19

¢y. ‘

Tom Sullivent, ()BA# l7l47

sid Martin, GBA# 10892 ; C - u ,2 5 9
suLLtvENT LAW rraM '. w - 2 0 1 z 4

4325 E. 51“ street suite 100 - - ' -
rutsa, 01< 74135

'I`elephonc: (918) 295~8300

A!torney/br Plain!ij]'

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER
CONNECTED WITH THIS SUIT OR YOUR ANSWER. SUCH ATTORNEY
SHOULD BE CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY_BE
FILED WITHIN THE TIME LIMIT STATED IN THE SUMMONS.

Case 4:12-cV-00508-.]ED-P.]C Document 2 Filed in USDC ND/OK on O9/10/12 Page 19 of 19

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oronthefrontlfspacepermits.

1 JAch|eAddressedto:

 

 

 

Primerica Life ins C_o . ’; '

e/o Oklahoma las Commissioner `
F._ive Corporate P.la_Za

362.'5 NW 56_‘_‘." suite 100 ..
Oklahoma Ctty, _OK 73112-451 1

 

 

 

 

 

 

 

 

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